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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

ANDREW MARCH,

              Plaintiff,

       vs.                                                  Civil No. 15-515-NT

JANET T. MILLS, et al.,

              Defendants



   ANSWER TO FIRST AMENDED COMPLAINT WITH AFFIRMATIVE
 DEFENSES AND JURY DEMAND (CITY OF PORTLAND, WILLIAM PREIS,
             JASON NADEAU AND GRAHAM HULTS)

       Defendants City of Portland, William Preis, Jason Nadeau and Graham Hults, by

and through counsel, hereby respond to the Plaintiff’s First Amended Complaint as

follows:

                                    INTRODUCTION

       1.     The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       2.     The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.
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       3.     The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       4.     The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       5.     The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       6.     The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

                             JURISDICTION AND VENUE

       7.     The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       8.     The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       9.     The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.



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Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

                                        PLAINTIFF

       10.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

                                      DEFENDANTS

       11.    The Defendants admit the allegations contained in the first sentence of

this paragraph of Plaintiff’s First Amended Complaint. The remaining allegations

contained in this paragraph of the Plaintiff’s First Amended Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s First Amended

Complaint and, accordingly, deny same.

       12.    The Defendants admit the allegations contained in the first sentence of

this paragraph of Plaintiff’s First Amended Complaint. The remaining allegations

contained in this paragraph of the Plaintiff’s First Amended Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s First Amended

Complaint and, accordingly, deny same.

       13.    The Defendants admit that Portland Police officers enforce certain laws in

the State of Maine. The Defendants are without sufficient information or knowledge to



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form a belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s First Amended Complaint and, accordingly, deny same.

       14.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       15.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       16.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       17.    The Defendants admits that, as a general proposition, the City of Portland

provides training to its police officers, including those named as Defendants. The

remaining allegations contained in this paragraph of the Plaintiff’s First Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       18.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.



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      19.    The Defendants admit the allegations contained in the first sentence of

this paragraph of Plaintiff’s First Amended Complaint. The remaining allegations

contained in this paragraph of the Plaintiff’s First Amended Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s First Amended

Complaint and, accordingly, deny same.

      20.    The Defendants admit the allegations contained in the first sentence of

this paragraph of Plaintiff’s First Amended Complaint. The remaining allegations

contained in this paragraph of the Plaintiff’s First Amended Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s First Amended

Complaint and, accordingly, deny same.

      21.    The Defendants admit the allegations contained in the first sentence of

this paragraph of Plaintiff’s First Amended Complaint. The remaining allegations

contained in this paragraph of the Plaintiff’s First Amended Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s First Amended

Complaint and, accordingly, deny same.

      22.    The Defendants admit the allegations contained in the first sentence of

this paragraph of Plaintiff’s First Amended Complaint. The remaining allegations

contained in this paragraph of the Plaintiff’s First Amended Complaint constitute



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assertions of law to which no response is required. Alternatively, the Defendants are

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations contained in this paragraph of Plaintiff’s First Amended

Complaint and, accordingly, deny same.

                                STATEMENT OF FACTS

       23.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       24.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       25.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       26.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.




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       27.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       28.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       29.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       30.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       31.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       32.    The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.




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       33.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       34.    The Defendants admit that Planned Parenthood provides health services,

such that the structure it occupies is a building where persons receive health services.

The Defendants are without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       35.    The Defendants admit that Planned Parenthood has an office on Congress

Street in Portland, Maine. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       36.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       37.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       38.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       39.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.




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       40.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       41.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       42.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       43.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       44.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       45.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       46.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       47.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.



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       48.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       49.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       50.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       51.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       52.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       53.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       54.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       55.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.



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       56.    The Defendants admit that the Plaintiff was asked to lower the volume of

his voice so that it would not interfere with the safe and effective delivery of health care

services at Planned Parenthood. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       57.    The Defendants admit that the Portland Police Department received a

report of persons making noise that could be heard within Planned Parenthood that was

interfering with the safe and effective delivery of health care services therein. The

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the remaining allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       58.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       59.    The Defendants admit that the Plaintiff was asked to lower the volume of

his voice so that it would not interfere with the safe and effective delivery of health care

services at Planned Parenthood. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       60.    The Defendants admit that the Plaintiff attempted to discuss the

provisions of the pertinent civil rights law with the officers. The Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s First Amended Complaint and,

accordingly, deny same.



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       61.    The Defendants admit that the Plaintiff was asked to lower the volume of

his voice so that it would not interfere with the safe and effective delivery of health care

services at Planned Parenthood. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       62.    The Defendants admit that the Plaintiff attempted to discuss the

provisions of the pertinent civil rights law with the officers. The Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s First Amended Complaint and,

accordingly, deny same.

       63.    The Defendants admit that the Plaintiff continued to discuss the

provisions of the pertinent civil rights law with the officers. The Defendants further

admit that the Plaintiff made certain conjectures. The Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s First Amended Complaint and, accordingly,

deny same.

       64.    The Defendants admit that the one or more officers noted the Plaintiff’s

conjectures. The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s First Amended Complaint and, accordingly, deny same.

       65.    The Defendants admit that the Plaintiff was provided with a copy of the

pertinent civil rights statute. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.



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       66.    The Defendants admit that the Plaintiff asked questions concerning the

pertinent civil rights statute. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same..

       67.    The Defendants admit that the officers did not attempt to interpret the

pertinent civil rights law for the Plaintiff. The Defendants further admit that the

Plaintiff stated that he had lawyers and that Defendant Krier noted that if the Plaintiff

had lawyers he did not need the Defendants’ assistance in interpreting the pertinent civil

rights law. The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s First Amended Complaint and, accordingly, deny same.

       68.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       69.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       70.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       71.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       72.    The Defendants admit that the Plaintiff was asked by Defendant Preis to

lower the volume of his voice so that it would not interfere with the safe and effective



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delivery of health care services at Planned Parenthood. The Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s First Amended Complaint and,

accordingly, deny same.

       73.    The Defendants admit the Plaintiff posed questions concerning a protest.

The Defendants are without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       74.    The Defendants admit that the Plaintiff was advised that the pertinent civil

rights law protects persons from noises made outside of a building where health care

services are provided for the purpose of interfering with the safe and effective delivery of

those health care services. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       75.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       76.    The Defendants admit that the Plaintiff was advised that the pertinent civil

rights law protects persons from noises made outside of a building where health care

services are provided for the purpose of interfering with the safe and effective delivery of

those health care services. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.




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       77.    The Defendants admit the Plaintiff posed questions concerning the

pertinent civil rights law. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       78.    The Defendants admit that the Plaintiff was advised that the pertinent civil

rights law protects persons from noises made outside of a building where health care

services are provided for the purpose of interfering with the safe and effective delivery of

those health care services. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       79.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       80.    The Defendants admit that the Plaintiff was advised that the pertinent civil

rights law protects persons from noises made outside of a building where health care

services are provided for the purpose of interfering with the safe and effective delivery of

those health care services. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s First Amended Complaint and, accordingly, deny same.

       81.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       82.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.



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       83.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       84.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       85.    The Defendants admit that the Portland Police Department received a

report of persons making noise that could be heard within Planned Parenthood that was

interfering with the safe and effective delivery of health care services therein, and that

the Plaintiff was advised of that report. The Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s First Amended Complaint and, accordingly,

deny same.

       86.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       87.    The Defendants admit that the Plaintiff was or had been advised that the

pertinent civil rights law protects persons from noises made outside of a building where

health care services are provided for the purpose of interfering with the safe and

effective delivery of those health care services. The Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s First Amended Complaint and, accordingly,

deny same.




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       88.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       89.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       90.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       91.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       92.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       93.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       94.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       95.    The Defendants admit that public sidewalks are used for a variety of

purposes. The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s First Amended Complaint and, accordingly, deny same.



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       96.    The Defendants admit that Congress Street has been used for parades.

The Defendants are without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       97.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       98.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       99.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       100.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       101.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       102.   The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       103.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       104.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.




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       105.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       106.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       107.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       108.   The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       109.   The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       110.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       111.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       112.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.



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Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       113.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       114.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       115.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

                   FIRST CAUSE OF ACTION – 42 U.S.C. § 1983
                    (Free Speech – Viewpoint Discrimination)

       116.   The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s First Amended Complaint.

       117.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.




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       118.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       119.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       120.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       121.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       122.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       123.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       124.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       125.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       126.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       127.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.




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                 SECOND CAUSE OF ACTION – 42 U.S.C. § 1983
                     (Free Speech – Time, Place, Manner)

       128.   The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s First Amended Complaint.

       129.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       130.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       131.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       132.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       133.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       134.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       135.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.




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       136.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       137.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       138.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       139.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       140.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

                   THIRD CAUSE OF ACTION – 42 U.S.C. § 1983
                        (Free Speech – Prior Restraint)

       141.   The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s First Amended Complaint.

       142.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       143.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.




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      144.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      145.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      146.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      147.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      148.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      149.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      150.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

                FOURTH CAUSE OF ACTION – 42 U.S.C. § 1983
                 (Equal Protection – Fourteenth Amendment)

      151.   The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s First Amended Complaint.

      152.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      153.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

      154.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.




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       155.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       156.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       157.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

                   FIFTH CAUSE OF ACTION – 42 U.S.C. § 1983
                          (Due Process -- Vagueness)

       158.   The Defendants repeat their responses to the preceding paragraphs of

Plaintiff’s First Amended Complaint.

       159.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       160.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       161.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.


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       162.   The allegations contained in this paragraph of the Plaintiff’s First

Amended Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       163.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       164.   The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       165.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       166.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       167.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       168.   The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       169.   The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.




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       170.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       171.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       172.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       173.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       174.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       175.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint and, accordingly, deny same.

       176.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       177.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

       178.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

                              AFFIRMATIVE DEFENSES

       1.      The Defendants have at all times acted in good faith and without

knowledge that their conduct violated any clearly established constitutional or statutory

rights of the Plaintiff.



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       2.     The Defendants’ conduct did not violate any clearly established

constitutional or statutory rights of the Plaintiff.

       3.     No reasonable person would have known that the Defendants’ conduct

violated any clearly established constitutional or statutory rights of the Plaintiff.

       4.     To the extent that the Plaintiff’s First Amended Complaint seeks to impose

liability on the Defendants in their representative capacity, the Complaint fails to state a

claim upon which relief may be granted.

       5.     The Plaintiff’s claims are barred for the reason that the Defendants’

actions were not taken pursuant to an unconstitutional policy, custom or practice.

       6.     The Defendants are immune from suit pursuant to qualified immunity.

       7.     The Plaintiff’s claims, in whole or in part, are barred by the doctrine of

immunity.

       8.     The Plaintiff’s own conduct was the sole or a contributing cause of any

injuries the Plaintiff may have sustained.

       9.     The Plaintiff’s First Amended Complaint, in whole or in part, fails to state

a claim upon which relief may be granted.

       10.    The Plaintiff’s claims are barred for the reason that the Defendants are not

liable under a theory of respondeat superior for the actions of their agents.

       11.    The Plaintiff’s claims are barred for the reason that the Defendants’

actions do not constitute deliberate indifference or conduct which is shocking to the

conscience.

       12.    The Plaintiff’s claims are barred for the reason that the allegations in the

Complaint allege simple negligence and the conduct complained of is not the type

contemplated under 42 U.S.C. § 1983.



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       13.      The Defendants reserve the right to demonstrate that the Plaintiff’s claims

are barred, in whole or in part, by the applicable statutes of limitations.

       14.      To the extent that the Plaintiff seeks injunctive or declaratory relief, the

Plaintiff has no standing.

       15.      The Plaintiff, in whole or in part, fails to allege justiciable claims.

       16.      The Plaintiff has adequate remedies under State law, and therefore no

action lies under 42 U.S.C. §1983 in the Maine Constitution or the United States

Constitution.

       17.      The Defendants reserve the right to demonstrate that the Plaintiff has

failed to mitigate damages.

                                       JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the

Defendants request a trial by jury on all claims and issues properly tried to a jury.



       WHEREFORE, Defendants City of Portland, William Preis, Jason Nadeau and

Graham Hults demand judgment in their favor with regard to all claims of the Plaintiff’s

First Amended Complaint, including an award of costs and attorneys’ fees, if

appropriate, and such other relief as the Court deems just.

       Dated at Portland, Maine this 9th day of February, 2016.

                                      Attorneys for Defendants City of Portland,
                                      William Preis, Jason Nadeau and Graham Hults and
                                      Donald Krier
                                      MONAGHAN LEAHY, LLP
                                      95 Exchange Street, P.O. Box 7046
                                      Portland, ME 04112-7046
                                      (207) 774-3906
                              By:     /s/ John J. Wall, III
                                      John J. Wall, III



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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2016, I electronically filed Answer to First
Amended Complaint with Affirmative Defenses and Jury Demand (City of
Portland, William Preis, Jason Nadeau and Graham Hults) using the CM/ECF
system, which will provide notice to me and the following other counsel of record:
mail@whitinglawfirm.com; emersino@thomasmore.org; koliveri@thomasmore.org;
Christopher.C.Taub@maine.gov.

      Dated at Portland, Maine this 9th day of February, 2016.

                                  Attorneys for Defendants City of Portland,
                                  William Preis, Jason Nadeau, Graham Hults and
                                  Donald Krier
                                  MONAGHAN LEAHY, LLP
                                  95 Exchange Street, P.O. Box 7046
                                  Portland, ME 04112-7046
                                  (207) 774-3906
                           By:    /s/ John J. Wall, III
                                  John J. Wall, III




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